      Case 2:92-cr-00181-JCM-NA      Document 360       Filed 11/15/11   Page 1 of 1




 1

 2                          UNITED STATES DISTRICT COURT
 3                                 DISTRICT OF NEVADA
 4                                            ***
 5   UNITED STATES OF AMERICA,                )         2:92-CR-00181-PMP
                                              )
 6                   Plaintiff,               )                 ORDER
                                              )
 7   vs.                                      )
                                              )
 8   RAMON EDMOND                             )
                                              )
 9                                            )
                     Defendant.               )
10                                            )
11            Before the Court for consideration is Defendant Ramon Edmond’s Motion
12   to Reduce Sentence Pursuant to Amendment 599 to the United States Sentencing
13   Guidelines § 2K2.4 (Doc. #356), filed October 24, 2011. On November 1, 2011,
14   Plaintiff United States filed its Response in Opposition to Defendant Edmond’s
15   Motion (Doc. #358). Having read and considered the foregoing, the Court finds that
16   Defendant Edmond’s Motion must be denied.
17            Specifically, as argued by Plaintiff United States in its Response (Doc.
18   #358), Amendment 599 did not alter any substantive aspect of that portion of the
19   United States Sentencing Guidelines § 2K2.4, note 2, upon which the Court relied in
20   imposing the original sentence in this case.
21            IT IS THEREFORE ORDERED that Defendant Ramon Edmond’s
22   Motion to Reduce Sentence Pursuant to Amendment 599 to the United States
23   Sentencing Guidelines § 2K2.4 (Doc. #356) is DENIED.
24   DATED: November 15, 2011.
25

26                                                PHILIP M. PRO
                                                  United States District Judge
